        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 1 of 13


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 5
                         UNITED STATES DISTRICT COURT
 6
                        EASTERN DISTRICT OF CALIFORNIA
 7
 8   NATURAL RESOURCES DEFENSE              1:05-CV-01207 OWW GSA
     COUNCIL,
 9                                          MEMORANDUM DECISION RE
                  Plaintiffs,               RECLAMATION DISTRICT 108, ET
10                                          AL. AND GLENN-COLUSA
         v.                                 IRRIGATION DISTRICT, ET
11                                          AL.’S JOINT OBJECTION TO
     DIRK KEMPTHORNE, et al.,               PLAINTIFFS’ REQUEST FOR
12                                          JUDICIAL NOTICE (DOC. 825)
                  Defendants,
13       and
14   SAN LUIS & DELTA-MENDOTA WATER
15   AUTHORITY, et al.,

16                Defendant-Intervenors.

17
18                              I.   INTRODUCTION

19        Before the court for decision are objections to evidence

20   filed by Reclamation District 108, et al., and Glenn-Colusa

21   Irrigation District, et al., (collectively, Sacramento River

22   Settlement (“SRS”) Contractors), objecting to certain documents

23   attached to Plaintiffs’ Request for Judicial Notice (“RJN”), Doc.

24   818, filed in connection with the March 13, 2009 hearing

25   concerning the application of National Association of Home

26   Builders v. Defenders of Wildlife, 127 S. Ct. 2518 (2008), to

27   Plaintiffs’ request for rescission of a number of the SRS

28   Contracts.    Doc. 825, filed Mar. 9, 2009.     Specifically, the SRS

                                        1
        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 2 of 13


 1   Contractors object to the following documents:
 2        ·    Letter from Rodney R. McInnis, NMFS Regional
               Administrator, to Mr. Donald Glaser, BOR Regional
 3             Director, dated February 20, 2009 and attached as
               Exhibit 1 to Declaration of Katherine S. Poole in
 4             Support of Plaintiffs’ Response to Sacramento River
               Settlement Contractors’ Supplemental Memoranda in
 5             Support of Motion for Summary Adjudication of
               Plaintiffs’ Second Claim and Request for Judicial
 6             Notice (“Poole Decl.”) (“Exhibit 1”)
 7        ·    Letter from Virginia A. Cahill, Deputy Attorney
               General, State of California Department of Justice, to
 8             John J. Kirlin, Executive Director, Delta Vision, dated
               July 9, 2008 and attached as Exhibit 2 to Poole Decl.
 9             (“Exhibit 2”)
10        ·    Letter from Michael J. Ryan, BOR Area Manager, to
               Basin-Wide Water Management Plan Steering Committee,
11             dated August 2, 1999 and attached as Exhibit 5 to Poole
               Decl. (“Exhibit 5”)
12
          ·    Answer of Federal Defendants to First Set of
13             Interrogatories, GCID et al. v United States et al.,
               No. S-01-1816 GEB JFM, dated May 6, 2002 and attached
14             to Poole Decl. as Exhibit 8 (“Exhibit 8”)
15        ·    Plaintiffs’ Responses to Intervenors’ First Set of
               Requests for Admission, GCID et al. v. United States et
16             al., No. S-01-1816 GEB JFM, dated August 5, 2002 and
               attached as Exhibit 9 to Poole Decl. (“Exhibit 9”)
17
          ·    Plaintiffs’ Responses to Intervenors' First Set of
18             Interrogatories, GCID et al. v. United States et al.,
               No. S-01-1816 GEB JFM, dated August 5, 2002 and
19             attached as Exhibit 10 to Poole Decl. (“Exhibit 10”)
20        ·    Plaintiffs’ Memorandum of Points and Authorities in
               Opposition to Motion to Intervene of Proposed
21             Intervenors, GCID et al. v. United States et al, No.
               S-01-1816 GEB JFM, dated May 13, 2002 and attached as
22             Exhibit 11 to Poole Decl. (“Exhibit 11”)
23        ·    Status Report of the Federal Defendants, GCID et al. v.
               United States et al., No. S096-942 EJG GGH, dated
24             September 17, 1996 and attached as Exhibit 12 to Poole
               Decl. (“Exhibit 12”)
25
          ·    Excerpts of the Final Sacramento Valley Regional Water
26             Management Plan, prepared by the Sacramento River
               Settlement Contractors in cooperation with BOR, dated
27             January 2006 and attached as Exhibit 13 to Poole Decl.
               (“Exhibit 13”)
28

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        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 3 of 13


 1        ·      Letter from Virginia A. Cahill, Deputy Attorney
                 General, State of California Department of Justice, to
 2               John J. Kirlin, Executive Director, Delta Vision, dated
                 July 2, 2008 and attached as Exhibit 14 to Poole Decl.
 3               (“Exhibit 14”)
 4   Plaintiffs offer these documents “not to prove the truth of the
 5   matters asserted therein, but to demonstrate the fact that
 6   various public agencies made the findings or statements asserted
 7   therein.”    RJN at 1.   The SRS Contractors object to the documents
 8   on various grounds.
 9
10                                II.   ANALYSIS
11        A.     Exhibit 1 - Letter from Rodney McInnis.
12        Plaintiffs offer Exhibit 1, a letter from NMFS Regional
13   Administrator to Mr. Donald Glaser, Reclamation’s Regional
14   Director, dated February 20, 2009, reviewing Reclamation’s
15   initial February forecast and water supply allocation for 2009.
16        The SRS Contractors first object that any such evidence is
17   irrelevant to the issues in this case.        See Federal Rule of
18   Evidence 402 (“[e]vidence which is not relevant is not
19   admissible”).    The issues presently before the court concern the
20   nature and extent of the SRS Contractors’ underlying water
21   rights, and whether Reclamation had discretion under Home
22   Builders, 127 S. Ct. 2518, to reduce deliveries or contract
23   amounts, or otherwise modify the SRS Contracts to benefit Delta
24   smelt.    Memorandum Decision Re Cross Motions for Summary Judgment
25   Re CVP Contract Rescission, Doc. 761 at 70, dated Nov. 19, 2008
26   (“Memorandum Decision”).     In Exhibit 1, Mr. McInnis discusses
27   NMFS’s concerns with Reclamation’s initial water supply
28   allocation for 2009.     This is arguably relevant to one of the

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         Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 4 of 13


 1   legal questions presented in this case:        whether there is a
 2   conflict between the ESA and Section 8 of the Reclamation Act.
 3        However, Exhibit 1 is extra-record evidence for which
 4   Plaintiffs seek judicial notice on the ground that it is a public
 5   record.1   Plaintiffs maintain that the document is not being
 6   offered to prove the truth of the matters asserted therein.           RJN
 7   at 1.    Despite this representation, Plaintiffs cite Exhibit 1 as
 8   evidence that the SRS Contracts are interfering with the
 9   cold-water habitat for salmonids and, as a consequence, that
10   delivery of water to the SRS Contractors is inconsistent with the
11   public trust doctrine.     See Doc. 820-2, at 12, 25.       Plaintiffs
12   may not use judicial notice to admit public records into evidence
13   for the truth of the matters asserted therein, where the subject
14   matter is in dispute.     See Klein v. Freedom Strategic Partners,
15   LLC, 595 F. Supp. 2d 1152, 1157 (D. Nev. 2009)(citing Lee v. City
16
17
18
          1
19             It is undisputed that Exhibit 1 is a “public record”
     obtained from the files or downloaded from the website of a
20   federal administrative agency. Plaintiffs also suggest that
21   Exhibits 1, 2, 4, and 14 are subject to judicial notice because
     they are “opinion letters” issued by a federal or state agencies,
22   citing Louis v. McCormick & Schick Rest. Corp., 460 F. Supp. 2d
     1153, 1156 n.4 (C.D. Cal. 2006), and Cmty. Ass’n for Restoration
23   of the Env’t v. Henry Bosma, 65 F. Supp. 2d 1129, 1145 (E.D. Wash
24   1999). It is unclear whether all of these Exhibits constitute
     the type of “opinion letters” referenced in Louis and Bosma,
25   which concerned official Opinions of federal regulators or State
     Attorneys General regarding the legality of certain activities.
26   It is not necessary to resolve this dispute here, as the evidence
27   is inadmissible for the truth of the matters asserted therein,
     which are disputed, regardless if their existence may be
28   judicially noticed.

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        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 5 of 13


 1   of Los Angeles, 250 F.3d 668, 689-90 (9th Cir. 2001)).2         Exhibit
 2   1 is otherwise inadmissible hearsay.      See Fed. R. Evid. 801(c).
 3   The objection is SUSTAINED as to Plaintiffs’ reliance on Exhibit
 4   1 for the truth of the matters asserted therein.
 5
 6        B.     Exhibit 2 - Letter from Virginia Cahill (dated July 9,
                 2008).
 7
          Exhibit 2 is a letter from Deputy Attorney General Virginia
 8
     Cahill to John Kirlin, Executive Director of Delta Vision,
 9
     regarding what legal tools are available to the State of
10
     California to reduce and/or reallocate water among users.          The
11
     SRS Contractors first object that this evidence has no relevance
12
     to determining whether the Bureau had discretion under Home
13
     Builders.   It is true that Plaintiffs have not argued that
14
     Reclamation possesses the same (or even similar) powers as the
15
     State of California to reduce and/or reallocate water resources.
16
     However, the interpretations contained within this letter are
17
     arguably relevant insofar as they represent a recent
18
     articulation, including legal opinions, of relevant water law
19
     doctrines by the California Attorney General’s Office.
20
          Nevertheless, the letter is inadmissible for the truth (or
21
     in this case the legal validity) of the matters asserted therein.
22
23
          2
24             Alternatively, a fact may be subject to judicial notice
     under Federal Rule of Evidence 201(b) if it is “not subject to
25   reasonable dispute” in that it is either “(1) generally known
     within the territorial jurisdiction of the trial court or (2)
26   capable of accurate and ready determination by resort to sources
27   whose accuracy cannot reasonably be questioned.” Neither of
     these conditions apply here.
28

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          Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 6 of 13


 1   The SRS Contractors, and others, dispute the legal opinions
 2   expressed by Deputy Attorney General Cahill in Exhibit 2.            The
 3   letter does not represent a binding statement of the law and
 4   cannot be accepted as authoritative.        The objection is SUSTAINED,
 5   except that Exhibit 2 is admissible as a notice of the non-
 6   binding legal views of the Attorney General’s Office.
 7
 8         C.    Exhibit 14 - Letter from Virginia Cahill (dated July 2,
                 2008).
 9
           Exhibit 14 is another Letter from Deputy Attorney General
10
     Cahill to Kirlin, dated July 2, 2008, which presents a detailed
11
     analysis of the “Area of Origin” laws.         The SRS Contractors
12
     object to Exhibit 14 for the same reasons they object to Exhibit
13
     2.   The ruling is the same as that applicable to Exhibit 2.           The
14
     letter does not represent a binding statement of the law.            The
15
     objection is SUSTAINED, except that Exhibit 14 can be considered
16
     as reflecting the legal opinions of the Attorney General’s Office
17
     on these legal issues.
18
19
           D.    Exhibit 5 - Letter from Michael Ryan.
20
           Exhibit 5 is a Letter from Michael J. Ryan, Reclamation’s
21
     Area Manager, to the Basin-Wide Water Management Plan Steering
22
     Committee, dated August 2, 1999, in which Ryan asserts that
23
     Reclamation could allow the SRS Contracts to expire.           The SRS
24
     Contractors object to taking judicial notice of this document for
25
     its truth.    Specifically, the SRS Contractors object to
26
     Plaintiffs’ assertion that:
27
                 If ACID and Sutter Mutual had failed to agree to BOR’s
28               demand to reduce contract quantities, those parties

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        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 7 of 13


 1               would likely have failed to execute any renewal
                 contracts at all, an option that was clearly available
 2               to BOR under the terms of the contracts and under law.
                 See Poole Dec., Ex. 5.
 3
     Doc. 820-2, 22.   Although Exhibit 5 can be considered an
 4
     expression of Reclamation’s position on the extent of its
 5
     authority to decline to renew the SRS Contracts, the document is
 6
     not admissible to establish that non-renewal was a “clearly
 7
     available” and “lawful” option, which is a conclusion of law.
 8
          Plaintiffs argue, in the alternative, that Document 5
 9
     constitutes an admission of a party-opponent.        RJN 2.   But, the
10
     admissibility of party-opponent admissions as an exception to the
11
     hearsay rule is not an independent ground upon which a court may
12
     take judicial notice.    Exhibit 5 is extra-record evidence,
13
     representing the litigation position of the Bureau.         Plaintiffs
14
     offer no basis, other than judicial notice, for its admissibility
15
     under any established exception to the bar against extra-record
16
     evidence.   Even if it is an admission of a party opponent, an
17
     issue that need not be resolved, the objection is SUSTAINED.3
18
19
          E.     Exhibits 8, 9, and 10 - Discovery Responses from GCID
20               et al. v. United States et al.
21        Included as Exhibit 8 are Federal Defendants’ answers to the
22   first set of interrogatories propounded in GCID et al. v United
23   States et al., No. S-01-1816 GEB JFM, dated May 6, 2002.          Here,
24   Plaintiffs rely upon Exhibit 8 in the following argument:
25
26
          3
27              Plaintiffs offer the same argument with respect to
     Exhibits 6 through 12. The same ruling applies to those
28   documents.

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        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 8 of 13


 1             Prior to the original contracts’ expiration, in []
               Glenn-Colusa Irrigation District et al. v. United
 2             States, No. S-01-1816 GEB JFM (E.D. Cal.), BOR took the
               “final position on the interpretation of Article 9(a)
 3             ... ‘that for any renewals of the Settlement Contracts,
               the quantities of water, and the allocation thereof
 4             between base supply and Project water, which may be
               diverted by the Settlement Contractors from their
 5             sources of supply, may be adjusted.’” Poole Dec., Ex.
               8 at 3 (Rog. 5, quoting Fed. Defs.’ Answer, ¶ 41); see
 6             also id. at 4 (“‘[The] quantities of water specified in
               the Settlement Contracts are subject to adjustment by
 7             the United States.’” (Rog. 7, quoting Fed. Defs.’
               Answer, ¶ 43)). Responding to interrogatories posed by
 8             the plaintiff Settlement Contractors, BOR stated that
               it was “aware of no law, rule, regulation, contract,
 9             executive order or any other basis that precludes
               Reclamation in its renewal contract negotiations from”
10             negotiating adjusted quantity and allocation terms.
               Id. at 3-4 (Responses to Rogs. 5 and 7). An identical
11             position appears in an explanatory recital in the newly
               executed renewal contracts, which expressly references
12             the parties’ “disagree[ment] with respect to the
               authority of the United States to change the quantities
13             of Base Supply and/or Project Water specified as
               available for diversion in this Settlement Contract
14             from the quantity specified in the Existing
               Contract....” SAR 2698-99
15
     Doc. 820-2 at 20.
16
          Exhibit 9 includes the SRS Contractors’ responses to
17
     environmental intervenors’ first set of requests for admission,
18
     in GCID, dated August 5, 2002.     Plaintiffs rely upon Exhibit 9 in
19
     the following manner:
20
               ...[M]any of the current Settlement Contractors
21             previously admitted, as plaintiffs in GCID v. United
               States, that BOR’s action to renew the settlement
22             contracts was subject to ESA § 7(a)(2), and the scope
               of that consultation was dependent only on the extent
23             of the impact of the final contract terms on listed
               species. Poole Dec., Ex. 9 at 5-7 (Pls.’ Responses to
24             Ints.’ Request for Admission Nos. 8 and 9).
25   Doc. 820-2 at 21.
26        Exhibit 10 is the SRS Contractors’ responses to
27   environmental intervenors’ first set of interrogatories in GCID,
28   dated August 5, 2002, on which Plaintiffs rely for the following

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        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 9 of 13


 1   contention:
 2             [SRS Contractor] plaintiffs admitted that “their
               diversion of Project water ... is subject to section
 3             3404(c)(2) of the CVPIA and the applicable requirements
               stated therein.” Poole Dec., Ex. 10 at 7-8 (Pls.’
 4             Response to Ints.’ Rog. 10).
 5   Doc. 820-2 at 21.
 6        The SRS Contractors first argue that Exhibits 8, 9, and 10
 7   are irrelevant because “[t]he fact that the Federal Defendants
 8   and a subset of the SRS Contractors responded to discovery
 9   request[s] in [GCID], has no bearing on the issues in this case.”
10   Doc. 825 at 8.   Positions taken by the parties with respect to
11   Reclamation’s ability to adjust contract quantities and the
12   applicability of ESA § 7(a)(2) and/or the CVPIA to the SRS
13   Contracts are arguably relevant here.       However, Exhibits 8, 9,
14   and 10 predate the Supreme Court’s decision in Home Builders.            In
15   light of Home Builders, the parties are entitled to change their
16   legal positions on these issues.       This makes their pre-Home
17   Builders positions irrelevant.
18        Moreover, the SRS Contractors represent that they
19   strenuously objected to the discovery requests in GCID, and that
20   the parties in GCID stipulated to dismissal of the case, without
21   prejudice, before the objections were ruled upon.         SAR 2699.
22        Finally, Plaintiffs offer no basis upon which these
23   documents may be judicially noticed.      The existence of a document
24   entered into the official court docket is a public record subject
25   to judicial notice, United States v. Wilson, 631 F.2d 118, 119
26   (9th Cir. 1980), because such documents are publicly available in
27   the court’s records and are “capable of accurate and ready
28   determination by resort to sources whose accuracy cannot

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        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 10 of 13


 1   reasonably be questioned,” Fed. R. Evid. 201(b)(2).         In contrast,
 2   the substance of discovery responses cannot be confirmed by
 3   readily available records, because discovery responses are not
 4   filed with the court, nor are the matters asserted therein
 5   undisputable and subject to universal acceptance.         See Garber v.
 6   Heilman, 2009 WL 409957 at *1, 8 (C.D. Cal. Feb. 18, 2009).
 7        The objections to Exhibits 8 through 10 are SUSTAINED.
 8
 9        F.   Exhibit 11 - Prior Briefing from GCID.
10        Exhibit 11 is the SRS Contractors’ memorandum of points and
11   authorities in opposition to environmental plaintiffs’ motion to
12   intervene in GCID, dated May 13, 2002.       Plaintiffs cite Exhibit
13   11 in support of their contention that the SRS Contractors have
14   previously admitted that the ESA applies to their contracts with
15   Reclamation:
16             [I]n opposing NRDC’s motion to intervene, the plaintiff
               Settlement Contractors assured the court that they did
17             not seek an order immunizing their renewal contracts
               “from the potential constraints of the ESA and NEPA.”
18             Poole Dec., Ex. 11 at 6. As they explained:
19                   [T]he only direct result of a favorable ruling for
                     Plaintiffs in this case will be that the Federal
20                   Defendants are required to renew the Settlement
                     Contracts for the same quantities of water
21                   currently set forth therein. . . . NEPA, ESA and
                     the CVPIA requirements operate independently of
22                   any potential construction of the contract
                     provisions at issue. . . . [T]here is no
23                   relationship between [NRDC’s legally protected
                     interests under these statutes] and the claims at
24                   issue.
25             Id. at 6, 8.
26   Doc. 820-2 at 21.
27        The SRS Contractors object to this Exhibit on relevance
28   grounds as well.    This objection is well-founded, for the reasons

                                        10
        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 11 of 13


 1   stated above, as this brief was filed approximately five years
 2   before Home Builders was decided.       The objection is SUSTAINED.
 3
 4        G.   Exhibit 12 - Status Report in GCID.
 5        Exhibit 12 is a status report filed by Federal Defendants in
 6   GCID, dated September 17, 1996.      Plaintiffs cite Exhibit 12 to
 7   support their assertion that the Settlement Contracts conferred
 8   considerable benefits upon the SRS Contractors.
 9             But this argument ignores the substantial benefits that
               the Settlement Contractors enjoy under their contracts
10             with BOR that exceed the extent of any possible
               historic rights. These benefits include the ability to
11             divert quantities of water during the summer and fall
               that the historic, unregulated flow of the Sacramento
12             River could not have supported; these diversions are
               only possible due to the construction and operation of
13             the CVP's Shasta Dam. See, e.g., Poole Dec., Ex. 12 at
               2 (BOR explanation that “[i]n 1944, Shasta Dam was
14             completed and the Bureau of Reclamation ... began
               regulating the flow of the river. As a result,
15             Sacramento River diverters were able to divert water
               from the river that was available only because of the
16             operation of Shasta Dam.”).
17   Doc. 820-2 at 23.    The SRS Contractors again object to Exhibit 12
18   on the ground that, despite their representations to the
19   contrary, Plaintiffs rely upon Exhibit 12 for the truth of the
20   matters asserted therein.     This objection is well founded and is
21   SUSTAINED.
22
23        H.   Exhibit 13 - Sacramento Regional Water Management Plan
               Excerpts.
24
          Exhibit 13 includes excerpts of the Final Sacramento Valley
25
     Regional Water Management Plan, prepared by the Sacramento River
26
     Settlement Contractors in cooperation with the Bureau, dated
27
     January 2006, which the Plaintiffs cite in the following
28

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        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 12 of 13


 1   passages:
 2               In fact, the claimed rights of just 27 of the 146
                 Settlement Contractors exceed the average natural flow
 3               of the Sacramento River during the period June-October.
                 Compare Van Camp Dec., Ex. E (Doc. 779) (showing
 4               claimed water rights for 27 Settlement Contractors of
                 approximately 450,000 acre-feet in the months of June,
 5               July and August; greater than 400,000 acre-feet in
                 September; and greater than 350,000 acre-feet in
 6               October) with Poole Dec., Ex. 13 (showing average
                 monthly flows on the Sacramento River prior to
 7               construction of Shasta Dam of approximately 250,000
                 acre-feet in July through October).
 8
     Doc. 820-2 at 7, n.6.
 9
                 A comparison of the diversions and deliveries
10               authorized under the settlement renewal contracts
                 during the peak irrigation months with the natural
11               hydrograph of the River illustrates that enormity of
                 this benefit, made possible only by operation of the
12               CVP. Plaintiffs have summed the monthly contract
                 totals provided to the vast majority of the Settlement
13               Contractors as indicated in Table 3-7 of the Final EIS
                 for the Sacramento River Settlement Renewal Contracts.
14               See Levy Dec., Att. 2. Those totals indicate that the
                 settlement renewal contracts provide for Settlement
15               Contractor diversions and deliveries in the months of
                 June, July, and August (in all but critically dry
16               years) that exceed the corresponding average monthly
                 flow of the Sacramento River prior to construction of
17               Shasta Dam. Compare Levy Dec., Att. 2 at 4 (showing
                 aggregate settlement renewal contract quantities of
18               406,005 acre-feet in June, 427,009 acre-feet in July,
                 and 337,750 acre-feet in August) with Poole Dec., Ex.
19               13 (showing average monthly flows on the Sacramento
                 River prior to construction of Shasta Dam of
20               approximately 250,000 acre-feet in June, and less than
                 250,000 acre-feet in July and August).
21
     Id. at 23-24.
22
          The SRS Contractors again object to Exhibit 13, because
23
     Plaintiffs’ cite Exhibit 13 for the truth of the matters asserted
24
     therein.    This objection is well founded and is SUSTAINED.
25
26
27
28

                                        12
        Case 1:05-cv-01207-JLT-EPG Document 835 Filed 04/27/09 Page 13 of 13


 1                              III.   CONCLUSION
 2        For the reasons set forth above, the SRS Contractors’
 3   objections are SUSTAINED, except that, with respect to Exhibits 2
 4   and 14, the documents may be considered for the legal opinions of
 5   the California Attorney General’s Office with respect to the
 6   interpretation of disputed legal doctrines.
 7
 8   SO ORDERED
 9   Dated: April 27, 2009
10                                        /s/ Oliver W. Wanger
                                            Oliver W. Wanger
11                                     United States District Judge
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